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         IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA
DO NO HARM,
                             Plaintiﬀ,
    v.
                                         No. 1:24-cv-1782
AMERICAN ASSOCIATION OF
UNIVERSITY WOMEN,
                     Defendant.

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 TIME-SENSITIVE MOTION FOR TEMPORARY RESTRAINING
        ORDER AND PRELIMINARY INJUNCTION
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                                     INTRODUCTION
          “Racial discrimination is invidious in all contexts.” SFFA v. Harvard, 600 U.S.

181, 214 (2023) (cleaned up). Healthcare especially. Yet, through its Selected Profes-

sions Fellowships (for the Focus Professions Group), AAUW is contracting only with

certain racial groups. Medical students who are white—like Do No Harm’s Members

A and B—are not eligible.




          Racial discrimination has been unlawful in private contracting since at least 1866,

when Congress passed 42 U.S.C. §1981. Section 1981 “protects the equal right of all

persons … to make and enforce contracts without respect to race.” Domino’s Pizza, Inc.

v. McDonald, 546 U.S. 470, 474 (2006) (cleaned up). Because AAUW “regards” the Se-

lected Professions Fellowships to be a “contract” and requires the Fellows to “sign a

contract as acceptance of the award,” AAUW is violating §1981 when it discriminates

based on race. VC (Doc. 1) ¶3. In recent weeks, the Eleventh Circuit preliminarily en-

joined a similar race-based program under §1981. Am. All. for Equal Rts. v. Fearless Fund

Mgmt., LLC, 103 F.4th 765, 780 (11th Cir. 2024). Do No Harm is entitled to the same

relief.




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      But time is of the essence. AAUW will open the application cycle on August 1,

2024, and close it on November 30, 2024. VC ¶19. Once the application window is

closed, AAUW will choose the winners, and Members A and B will lose their chance

to compete during this application cycle. And because Member B will graduate in 2026,

she could forever lose her chance to compete for a spot. All because of skin color.

      To preserve the status quo, Do No Harm asks this Court, by July 31, 2024, to

enter preliminarily enjoin AAUW from closing the application process, awarding the

Selecting Professions Fellowships for the Focus Professions Group, or otherwise op-

erating this fellowship program as currently structured until further order of this Court.

If more time is needed, this Court should also enter a TRO barring AAUW from open-

ing the application process until this Court rules on the preliminary-injunction motion.

                                   BACKGROUND
      AAUW runs the Selected Professions Fellowships program, which funds the ed-

ucation of women who are pursuing degrees in business, law, and medicine. But AAUW

requires applicants to be “women of color” and excludes white applicants. Do No

Harm has white members who are currently in medical school, who want to apply, but

who are currently ineligible because of their race.

 I.   AAUW operates a race-based fellowship.
      AAUW operates the Selected Professions Fellowships. VC ¶11; AAUW, Selected

Professions Fellowships (last visited June 20, 2024), perma.cc/5B2D-FHU2 (Ex. A). Each

year, AAUW awards $20,000 to women who pursue master’s or other professional


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degrees so they can pursue their education. VC ¶11. These funds can be used to pay for

educational expenses, living expenses, childcare, and travel to professional meetings,

conferences, or seminars. VC ¶11. According to AAUW, the Selected Professions Fel-

lowships are awarded to women who intend to pursue a full-time course of study in

concentrations where “women’s participation traditionally has been low.” VC ¶12.

      AAUW categorizes these concentrations into two groups—“Science and Tech-

nology Group” and “Focus Professions Group.” VC ¶12. The Science and Technology

Group is awarded to women who pursue master’s programs in architecture, com-

puter/information sciences, engineering, and math. VC ¶13. The Science and Technol-

ogy Group are facially open to all women regardless of their race. VC ¶13. The Focus

Professions Group is awarded to women who pursue degrees in business administra-

tion (MBA), law (JD), or medicine (MD or DO). VC ¶14.

      The objective criteria for the Focus Professions Group are few. To be eligible,

applicants must be a U.S. citizen or permanent resident, have achieved high standards

of academic excellence, and show promise of distinction in their ﬁelds. VC ¶15. They

must also be a full-time student at an accredited U.S. institution. VC ¶15. The Selected

Professions Fellowships are not open to previous recipients of any other AAUW na-

tional fellowship or grant. VC ¶16. And the Fellowships only support full-time course-

work in the ﬁelds designated by AAUW, so an individual enrolled in a joint-degree

program may not use the Fellowship funds to support coursework in other ﬁelds, even

if part of a joint-degree program. VC ¶16. AAUW also will not provide funding for

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distance-learning programs, programs that heavily depend on distance learning, Ph.D.

coursework or dissertations. VC ¶16.

       Eligible applicants are then judged under several subjective criteria. A selection

panel meets once a year to review the applications. VC ¶17. Awards are then based on

the criteria that AAUW publishes on its website and made “on a competitive basis ac-

cording to funds available in a given ﬁscal year.” VC ¶17. AAUW has listed the follow-

ing review criteria:

       •       Demonstrated commitment to education and equity for women
               and girls.

       •       Reason for seeking higher education.

       •       Degree to which study plan is consistent with career objectives.

       •       Potential as a practicing professional and potential as a role model
               in new and innovative or nontraditional fields of study, research or
               practice.

       •       Intent to contribute (through chosen profession) to societal well-
               being and commitment to the advancement of women and girls.

       •       Documentation of opportunities in chosen field.

       •       Feasibility of study plans and proposed time schedule.

       •       Validity of proposed budget and budget narrative, including suffi-
               cient outside support.

       •       Quality of written proposal.

       •       Academic excellence and related academic success indicators.

       •       Applicant is from an underrepresented racial/ethnic back-
               ground.


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      •       Financial need.

      •       Priority is given to women who do not already hold a master’s or
              first professional degree.

      •       Special consideration will be given to applicants who demonstrate
              their intent to enter professional practice in disciplines in which
              women are underrepresented, and/or their intent to serve under-
              resourced populations and communities, to pursue public interest
              areas, or who are nontraditional students.
VC ¶18 (emphasis added).

      The application cycle for the Selected Professions Fellowships opens on Au-

gust 1 every year and ends on November 30. VC ¶19. The next available fellowship year

will run from July 2025 to June 2026. VC ¶20.

      Fellowships for the Focus Professions Group, however, are “[o]nly open to

women from ethnic minority groups” whom AAUW considers “historically un-

derrepresented.” VC ¶21. These groups are: “Black or African American, Hispanic or

Latino/a, American Indian or Alaskan Native, Asian, and Native Hawaiian or Other

Paciﬁc Islander.” VC ¶21. White women are not included. VC ¶22. They are ineligible.

VC ¶22. In fact, AAUW admits that the Selected Professions Fellowships for the Focus

Professions Group are “restricted to women of color who have been underrepresented

in th[o]se ﬁelds.” VC ¶23.

      AAUW’s current strategic plan conﬁrms that AAUW seeks to “embody the goals

and spirit of equity, inclusion, diversity[,] and intersectionality across all AAUW activi-

ties and participants.” VC ¶24 (quoting AAUW, Strategic Plan 2.0 (last visited June 20,



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2024), perma.cc/NC8B-C9L9 (Ex. B)). AAUW’s strategic plan further conﬁrms that its

“diversity” goal means “prioritizing women of color.” VC ¶24 (quoting Strategic Plan

2.0, supra).

       Consistent with this goal, AAUW advertises that the Selected Professions Fel-

lowships for the Focus Professions Group are open only to women of color. VC ¶25.

For instance, in an article explaining how women can “ﬁn[d] graduate funding oppor-

tunities,” AAUW conﬁrmed that the Selected Professions Fellowships were “oﬀered to

women of color.” VC ¶26; AAUW, Navigating Graduate Funding Opportunities (last visited

June 20, 2024), perma.cc/V7Z9-SB2V (Ex. C). AAUW has also posted on Facebook,

“Are you a woman of color pursuing a Masters in a male-dominated ﬁeld? We want to

fund you!” VC ¶28; AAUW Facebook Posts, at 2 (Ex. D). On other occasions, it stated

that “Women of Color pursuing a JD, MBA, or MD” should apply to the Selected

Professions Fellowships, VC ¶29; Ex. D, at 3, and that “[s]pecial funds [were] available

for women of color pursuing a law degree, medical degree, or MBA,” VC ¶30; Ex. D,

at 4. AAUW has also made clear that the Selected Professions Fellowships are “for

women of color.” VC ¶¶27, 28, 31; Ex. D, at 5.

       Because white women aren’t “women of color,” aren’t “underrepresented” ac-

cording to AAUW, and aren’t included in the list of races for whom the Selected Pro-

fession Fellowships are open, they are ﬂatly excluded from applying. VC ¶32. At a min-

imum, AAUW prefers applicants who are nonwhite to applicants who are white, based

on their race. VC ¶32.

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 II.   AAUW’s fellowship involves a contract.
       AAUW makes it clear that it intends to form a contract with the Fellowship re-

cipient if she is accepted. VC ¶33. AAUW “regards the acceptance of a fellowship as a

contract requiring the fulﬁllment of the following terms.” VC ¶34.

       All Selected Professions Fellows agree to “sign a contract as acceptance of the

award.” VC ¶35. The instructions on AAUW’s website “will become part of the fellow-

ship contract.” VC ¶35. Fellows agree, among other things, to “pursue a full-time course

of study during the fellowship year.” VC ¶36. Fellows further agree to seek “prior writ-

ten approval of AAUW” before making any changes to their study plans for the fellow-

ship year. VC ¶37. In exchange for these promises, AAUW agrees to pay the Fellows

$20,000 directly (not to their schools). VC ¶38.

       The application process for the Selected Professions Fellowships is also a contest

that turns on the “quality of written proposal.” VC ¶39. Each year, AAUW awards the

Fellowships “on a competitive basis according to funds available” based on a review by

panels chosen by AAUW (and ﬁnal approval by AAUW). VC ¶39. For the award year

2022-2023, AAUW awarded 26 women with Selected Professions Fellowships. VC ¶40.

III.   AAUW’s discrimination harms Do No Harm’s members.
       Do No Harm has at least two members—Members A and B—who are being

harmed by AAUW’s Selected Professions Fellowships. VC ¶41; Rasmussen Decl. ¶4.

       Members A and B meet all the nonracial eligibility criteria for the Selected Pro-

fessions Fellowships (speciﬁcally, the Focus Professions Group). VC ¶43; A Decl. ¶3;


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B Decl. ¶3. Both are women and U.S. citizens. VC ¶44; A Decl. ¶4; B Decl. ¶4. Both

are currently enrolled as full-time students at accredited schools in the United States

and pursuing a doctorate degree in osteopathic medicine. VC ¶44; A Decl. ¶5;

B Decl. ¶5. Member A recently completed her ﬁrst year and will begin her second year

in the fall. VC ¶44; A Decl. ¶5. Member B recently completed her second year and is

going into her third year this fall. VC ¶44; B Decl. ¶5.

      For both Members A and B, the D.O. degree would be their ﬁrst master’s or

professional degree. VC ¶45; A Decl. ¶15; B Decl. ¶17. Both Members can and would

obtain a letter of recommendation from professors at their schools under whom they

recently studied. VC ¶45; A Decl. ¶16; B Decl. ¶18. As students in good standing, both

can and would ask the deans of their schools to write them a letter of recommendation.

VC ¶45; A Decl. ¶16; B Decl. ¶18. Neither is pursuing a joint-degree program or a

Ph.D. VC ¶46; A Decl. ¶6; B Decl. ¶6. Their D.O. programs are in person. VC ¶46;

A Decl. ¶6; B Decl. ¶6. And neither has ever received any AAUW national fellowship

or grant. VC ¶46; A Decl. ¶7; B Decl. ¶7. Members A and B desire and would beneﬁt

greatly from the vast professional network oﬀered by AAUW to its Fellows. VC ¶47;

A Decl. ¶8; B Decl. ¶8.

      Both Members A and B are strong candidates for receiving a Selected Profes-

sions Fellowship. Member A grew up in a rural area. VC ¶47; A Decl. ¶9. When she

was growing up, the women around her were mostly stay-at-home moms. VC ¶48;

A Decl. ¶9. There weren’t any women in her life who worked professionally, like

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doctors or lawyers. VC ¶48; A Decl. ¶9. Member A married and started a family when

she was young. VC ¶48; A Decl. ¶9. For that reason, though she had started attending

college, she did not get her bachelor’s degree until much later after her kids got older.

VC ¶48; A Decl. ¶9. Member A was a teacher for four years in a rural part of the coun-

try. VC ¶48; A Decl. ¶9. She decided to go to medical school for two primary reasons.

VC ¶49; A Decl. ¶9. She always loved learning about the human body. And she wanted

to help people. VC ¶49; A Decl. ¶9.

      Member A has a demonstrated commitment to education and equity for women

and girls. VC ¶50; A Decl. ¶10. She is passionate about encouraging women to challenge

themselves to reach as far as they can. VC ¶50; A Decl. ¶10. Member A had to over-

come a background with no professional women role models. VC ¶50; A Decl. ¶10.

Member A would admit that she had little drive to study in her early years. VC ¶50;

A Decl. ¶10. But she soon discovered a passion for learning. VC ¶50; A Decl. ¶10.

Member A completed over 250 undergraduate credits. VC ¶50; A Decl. ¶10. She is

passionate about showing other women that they can pursue both family and profes-

sional life. VC ¶50; A Decl. ¶10. She has also encouraged her daughters to take chal-

lenging classes, prioritize their education, and explore all ﬁelds, including traditionally

male-dominated professions like medicine. VC ¶50; A Decl. ¶10. The same goes for her

female students, many of whom had parents who worked in blue-collar jobs and could

use encouragement to see the value in education. VC ¶50; A Decl. ¶10. Member A




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always encouraged them to aim high, including by teaching them how to be competitive

for scholarships. VC ¶50; A Decl. ¶10.

      Member A wants to keep serving as a role model to others and mentoring them.

Currently, Member A is active in her church and helps teach younger children. VC ¶51;

A Decl. ¶11. And later, when she has the opportunity, she wants to ﬁnd a way to educate

students about the harmful eﬀects of drugs. VC ¶51; A Decl. ¶11. Member A knows

how to talk to them given her background as a teacher, and she’s passionate about

teaching them about health and making good choices. VC ¶51; A Decl. ¶11. Once she

becomes a doctor, Member A wants to practice medicine in rural communities. VC ¶52;

A Decl. ¶12. Member A has a heart for those communities because she grew up in one

of them. VC ¶52; A Decl. ¶12. Member A wants to help those communities because

they experience signiﬁcant unmet healthcare needs. VC ¶52; A Decl. ¶12.

      Member A’s study plan is consistent with her career objectives. VC ¶53;

A Decl. ¶13. The D.O. program sets out the path that she must follow to become a

doctor. VC ¶53; A Decl. ¶13. Having completed the ﬁrst year, Member A’s focus is

now on doing well during her second year and preparing for her board exams. VC ¶53;

A Decl. ¶13. Member A wants to score high on the board exams so she can increase

the chances of getting into a good residency program. VC ¶53; A Decl. ¶13. Member A

is on track to graduate in 2027. VC ¶53; A Decl. ¶13.

      Member A has demonstrated ﬁnancial need. VC ¶54; A Decl. ¶14. She grew up

poor. VC ¶54; A Decl. ¶14. And although her husband currently works full time,

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Member A’s family has modest means and must take care of their children. VC ¶54; A

Decl. ¶54. She has obtained a need-based scholarship from her school, but that’s still

not enough to cover everything. VC ¶54; A Decl. ¶14. Member A is currently covering

the remainder of her tuition and living expenses with student loans. VC ¶54;

A Decl. ¶14. She would use the $20,000 from the fellowship to pay tuition. VC ¶54;

A Decl. ¶14.

      Member B grew up in the Midwest and obtained her bachelor’s degree from a

public university. VC ¶55; B Decl. ¶9. Member B decided to go to medical school after

doing a summer internship in Kenya. VC ¶55; B Decl. ¶9. There, she got to work with

medical providers who cared for women. VC ¶55; B Decl. ¶9. It was an eye-opening

experience. VC ¶55; B Decl. ¶9. Because Kenya lacks many high-quality doctors or

trained medical professionals, women there experience a high rate of miscarriages.

VC ¶55; B Decl. ¶9. In addition, Member B got to work with women who were victims

of sexual assault, some of whom became pregnant. VC ¶55; B Decl. ¶9. This internship

solidiﬁed her desire to go to medical school and obtain the level of training that she

would need to serve vulnerable women. VC ¶55; B Decl. ¶9. Member B wants to be-

come an obstetrician-gynecologist. VC ¶56; B Decl. ¶10. She is passionate about helping

young pregnant women, teaching women about health, and empowering mothers to

teach their daughters about health. VC ¶56; B Decl. ¶10. Member B also wants to serve

women in rural and underserved communities. VC ¶56; B Decl. ¶10.




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      Member B is always looking for ways to help others by educating them about

health. She currently volunteers at a food pantry. VC ¶57; B Decl. ¶11. One of her

current projects involves coordinating with a pediatrician to increase healthier meal op-

tions at the pantry and to develop healthy recipes for families to use. VC ¶57;

B Decl. ¶11. Member B wants to teach people about the value of taking care of their

health to avoid medical interventions later. VC ¶57; B Decl. ¶11.

      Member B is involved in various activities where she mentors others. VC ¶58;

B Decl. ¶12. Member B is on the leadership team for various student organizations,

including as the vice president for a medical-missions organization at her school, where

she is responsible for organizing community outreach and service projects. VC ¶58;

B Decl. ¶12. She is also a student ambassador for her school, so she frequently interacts

with future applicants and students about what it’s like to be a medical student. VC ¶58;

B Decl. ¶12. And Member B often gives advice to undergraduates who have questions

about medical school. VC ¶58; B Decl. ¶12.

      Member B has always challenged herself to do well academically. VC ¶59;

B Decl. ¶13. In college, Member B graduated magna cum laude, was on the dean’s list

almost every semester, and received the dean’s distinguished award. VC ¶59;

B Decl. ¶13. Currently, she is on track to graduate medical school in 2026. VC ¶59;

B Decl. ¶13. Doing well in school and on the board exams is especially important to

Member B because it will increase her chance of matching with an OB-GYN residency.

VC ¶59; B Decl. ¶13.

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      Member B’s study plan is consistent with her career objectives. The D.O. pro-

gram sets out the path that she must follow to become a doctor. VC ¶60; B Decl. ¶14.

Member B would use the $20,000 to help pay tuition. VC ¶61; B Decl. ¶15. Member B

is currently paying for tuition with student loans. VC ¶61; B Decl. ¶15. She has been

covering her living expenses with the money that she saved while working during the

gap year she took between college and medical school. VC ¶61; B Decl. ¶15. During

her gap year, Member B often worked 80-hour work weeks to save as much as she

could. VC ¶61; B Decl. ¶15. It’s important for her to minimize the student loans because

she wants to serve others without the stress of debt or worrying about how much she

will get paid. VC ¶61; B Decl. ¶15. Member B will soon need to start taking out student

loans to cover living expenses too. VC ¶61; B Decl. ¶15.

      In the past, Member B has sought out other similar scholarship and grant op-

portunities. VC ¶62; B Decl. ¶16. When she was in college, Member B received aca-

demic and athletic scholarships. VC ¶62; B Decl. ¶16. She also received a grant to re-

search organic chemistry under the supervision of a professor. VC ¶62; B Decl. ¶16.

      If Members A and B are accepted to the Selected Professions Fellowship, they

are prepared to meet the program’s requirements and expectations. VC ¶63;

A Decl. ¶17; B Decl. ¶19. Though they meet all the nonracial eligibility requirements,

they are not eligible to apply because they are white and do not identify as any other

ethnicity. VC ¶64; A Decl. ¶18; B Decl. ¶20. If they applied today, their applications

would be rejected for not meeting the racial requirement or would be heavily

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disadvantaged. VC ¶64. They ﬁnd it hurtful, unfair, and oﬀensive that their skin color,

which they can’t control, would be considered by AAUW in any way. VC ¶64;

A Decl. ¶18; B Decl. ¶20.

       Members A and B are ready and able to apply to the fellowship’s next available

application cycle program if a court orders AAUW to stop discriminating against white

applicants. VC ¶65; A Decl. ¶19; B Decl. ¶21. Both plan to apply if a court grants that

relief. VC ¶65; A Decl. ¶19; B Decl. ¶21.

                                   ARGUMENT
       Do No Harm is entitled to interim relief if it can satisfy four factors: a likelihood

of success on the merits, a substantial threat of irreparable harm, the balance of equities,

and the public interest. League of Women Voters v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016).

Do No Harm satisﬁes all four.

 I.    AAUW’s Selected Professions Fellowships program likely
       violates section 1981.
       Section 1981 guarantees “[a]ll persons … the same right … to make and enforce

contracts … as is enjoyed by white citizens.” 42 U.S.C. §1981(a). Section 1981 covers

private parties, like AAUW. 42 U.S.C. §1981(c). Its “broad terms” bar discrimination

“against, or in favor of, any race.” McDonald v. Santa Fe Trail Transp. Co., 427 U.S. 273,

295 (1976). Titled “Equal rights under the law,” §1981 “guarantee[s] continuous equal-

ity between white and nonwhite citizens,” Jam v. Int’l Fin. Corp., 586 U.S. 199, 208 (2019),

by protecting the “equal right of all persons … to make and enforce contracts without

respect to race,” Domino’s, 546 U.S. at 474 (cleaned up). In other words, §1981 “forbids

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racial discrimination in the making and enforcement of private contracts … whether

the aggrieved party is black or white.” Bobo v. ITT, Cont’l Baking Co., 662 F.2d 340, 342

(5th Cir. 1981).

       Section 1981 prohibits racial discrimination in “all phases and incidents of the

contractual relationship.” Rivers v. Roadway Express, Inc., 511 U.S. 298, 302 (1994). Be-

cause §1981 protects “the making … of contracts,” §1983(b), a contract “need not al-

ready exist,” Domino’s, 546 U.S. at 476. The statute “protects the would-be contractor

along with those who have already made contracts.” Id. It “oﬀers relief when racial

discrimination blocks the creation of a contractual relationship.” Id.

       Here, AAUW is violating §1981 by intentionally excluding certain applicants

from contractual relationships because of their race. The program involves a contract,

discriminates on its face, makes white applicants unable to compete on an equal footing,

and ﬂunks the applicable level of scrutiny.

       1. AAUW’s Selected Professions Fellowships implicate the right to “make …

contracts.” §1981(a). AAUW’s Selected Professions Fellowships form a contract in two

ways. To start, AAUW says that it “regards the acceptance of a fellowship as a contract.”

VC ¶34; Ex. A, at 8. And AAUW requires all Selected Professions Fellows to “sign a

contract as acceptance of the award.” VC ¶35; Ex. A, at 8. In no uncertain terms,

AAUW seeks to “make … contracts” with the Fellows. §1981(a). These confessions

should be the end of the analysis. See Fearless Fund, 103 F.4th at 775 (a defendant “faces

an uphill battle” in avoiding §1981 when it tells others it wants to form “a contract”).

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      If more analysis were needed, consider the terms that Fellows must “fulﬁl[l]” in

exchange for becoming a Fellow. VC ¶34; Ex. A, at 8. “The term contract, as used in

§1981, refers to a right in the promisee against the promisor, with a correlative special

duty in the promisor to the promisee of rendering the performance promised.” Adams

v. McDougal, 695 F.2d 104, 108 (5th Cir. 1983) (cleaned up). Stated diﬀerently, a contract

is “‘an agreement to do, or refrain from doing, a particular thing, upon suﬀicient con-

sideration.’” Fearless Fund, 103 F.4th at 775 (quoting 17A Am. Jur. 2d Contracts §1).

Here, in exchange for $20,000, the ability to call oneself an AAUW Follow, and joining

a vast professional network, the Fellows must agree to pursue a full-time course of study

during the fellowship year and to give AAUW a contractual right to regulate their

coursework. VC ¶¶36-37; Ex. A, at 8-9. “By any measure, that is a bargained-for ex-

change supported by good and suﬀicient consideration.” Fearless Fund, 103 F.4th at 775.

      AAUW’s Selected Professions Fellowships also involve a contract because the

selection process amounts to a contest. AAUW judges applications “on a competitive

basis” based on the “criteria outlined” on its website. VC ¶39; Ex. A, at 6-7. For the

award year 2022-2023, AAUW awarded only 26 women a fellowship. VC ¶40. This

process of “select[ing]” winners based on “merit” is a “bona ﬁde contest.” Brooklyn

Daily Eagle v. Voorhies, 181 F. 579, 582-83 (C.C.E.D.N.Y. 1910); accord Haskell v. Time,

Inc., 857 F. Supp. 1392, 1404-05 (E.D. Cal. 1994) (“answering an essay question” is “a

contest”). And a “contest is a common example of a unilateral contract.” Personavera,

LLC v. Coll. of Healthcare Info. Mgmt. Execs., 2021 WL1313108, at *4 (E.D. Pa. Apr. 8).

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“‘[P]ayment of a prize to a winner of a contest is the discharge of a contractual obliga-

tion.’” Glasgow v. Sherwin-Williams Co., 901 F. Supp. 1185, 1194 (N.D. Miss. 1995). “‘The

acceptance by the contestants of the oﬀer tendered by the sponsor of the contest creates

an enforceable contract.’” Id.; accord United States v. Chandler, 376 F.3d 1303, 1308-12

(11th Cir. 2004) (observing the “well-settled rule” that a contest is “an oﬀer for a uni-

lateral contract that can be accepted by performing all the terms and conditions”).

“[N]early all jurisdictions have adopted the rule that contract law governs the sponsor-

contestant relationship.” Hampton v. Dillard Dep’t Stores, Inc., 247 F.3d 1091, 1104 (10th

Cir. 2001) (cleaned up). For these reasons, AAUW’s Selected Professions Fellowships

implicate the right to “make … contracts.” §1981(a).

       2. AAUW is violating §1981 by intentionally limiting the formation of contractual

relationships based on race. White applicants are not eligible to apply. VC ¶¶22, 32;

Ex. A, at 3-4. At a minimum, AAUW considers whether applicants are nonwhite and

thus uses race as a factor. VC ¶32; Ex. A, at 3-4, 7. This policy is “discriminatory on its

face,” which supplies “direct evidence” of discriminatory intent. Trans World Airlines,

Inc. v. Thurston, 469 U.S. 111, 121 (1985). AAUW has also “express[ed] desire to avoid”

contracting with members of a certain race. Amini v. Oberlin Coll., 440 F.3d 350, 359 (6th

Cir. 2006) (cleaned up). AAUW has repeatedly stated that the Selected Professions Fel-

lowships are for women of color, and only women of color. VC ¶¶32-31; Ex. A, at 3-4;

Ex. D, at 2-5; see also Ex. B, at 6. So Do No Harm “is not required to make any further




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allegations of discriminatory intent or animus.” Juarez v. Nw. Mut. Life Ins., 69 F. Supp.

3d 364, 370 (S.D.N.Y. 2014).

       3. Race is also a but-for cause for Member A’s and Member B’s “‘loss of a legally

protected right’” to make contracts. Newman v. Amazon.com, Inc., 2022 WL 971297, at *7

(D.D.C. Mar. 31). “So long as the plaintiﬀ’s [race] was one but-for cause of that deci-

sion, that is enough.” Bostock v. Clayton County, 590 U.S. 644, 656 (2020). But for Member

A-B’s whiteness, they would have the “same right” to apply for the Selected Professions

Fellowships and to “make … contracts” with AAUW. §1981(a). Because Member A

and Member B are white, however, they are ineligible to apply or at least heavily disad-

vantaged if they were to apply. VC ¶64; Ex. A, at 3-4, 7.

       It’s no answer to say that AAUW also excludes minority men from the Selected

Professions Fellowships. Between a white woman and a minority woman, AAUW ex-

cludes the former because of race. See Connecticut v. Teal, 457 U.S. 440, 455-56 (1982).

Civil rights laws protect “individual” people. Id. at 455. And because race is “one but-for

cause” of her exclusion, “that is enough.” Bostock, 590 U.S. at 656.

       4. AAUW’s discrimination cannot survive strict scrutiny. See Gratz v. Bollinger, 539

U.S. 244, 275-76 & n.23 (2003); Harvard, 600 U.S. at 213. “[A]ll racial classiﬁcations …

must be analyzed by a reviewing court under strict scrutiny.” Adarand Constructors, Inc. v.

Pena, 515 U.S. 200, 227 (1995). Strict scrutiny is a “searching examination,” and AAUW

“bears the burden to prove that the reasons for any racial classiﬁcation are clearly iden-

tiﬁed and unquestionably legitimate.” Fischer v. UT at Austin, 570 U.S. 297, 310 (2013)

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(cleaned up). “[T]o withstand strict scrutiny,” AAUW’s use of race must serve a “‘com-

pelling’” interest and be “‘narrowly tailored’” to further that interest. MD/DC/DE

Broads. Ass’n v. FCC, 236 F.3d 13, 21 (D.C. Cir. 2001). AAUW cannot carry this heavy

burden. There is no compelling interest that justiﬁes a strict racial bar. And a categorical

exclusion of an entire racial group is, by deﬁnition, not narrowly tailored under any

standard. See Fearless Fund, 103 F.4th at 776 & n.5; Hammon v. Barry, 826 F.2d 73, 81

(D.C. Cir. 1987).

       For all these reasons, AAUW is violating §1981.

 II.   Absent relief, Do No Harm’s members will suﬀer irreparable
       harm.
       Do No Harm and its members will suffer irreparable harm without interim relief.

Three harms are most acute.

       1. Do No Harm’s members are “‘[v]ictims of discrimination’” and thus “‘suffer

irreparable injury, regardless of pecuniary damage.’” Gresham v. Windrush Partners, Ltd.,

730 F.2d 1417, 1424 (11th Cir. 1984); accord Coal. for Equity & Excellence in Md. Higher

Educ. v. Md. Higher Educ. Comm’n, 295 F. Supp. 3d 540, 557-58 (D. Md. 2017) (irreparable

injury “‘comes from the maintenance of segregative policies’”). Race discrimination is

“‘invidious.’” Harvard, 600 U.S. at 214. Whether it’s done by the government or private

actors, it “‘demeans the dignity and worth of a person to be judged by ancestry instead

of by [her] own merit and essential qualities.’” Id. at 220. Unsurprisingly, in another case

involving a §1981 challenge to a race-based grant program, the Eleventh Circuit held



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that race discrimination in contracting is “‘essentially irremediable’” and inflicts “irrep-

arable injury.” Fearless Fund, 103 F.4th at 780.

       2. Do No Harm’s members cannot compete on an equal footing. “The injury in

cases of this kind is that a discriminatory classification prevents the plaintiff from com-

peting on equal footing.” Adarand, 515 U.S. at 211 (cleaned up); see also Parents Involved

in Cmty. Schs v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) (“being forced to compete

in a race-based system that may prejudice the plaintiff”). This harm “result[s] from the

imposition of the barrier, not the ultimate inability to obtain the benefit.” Ne. Fla. Chap-

ter of Assoc Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993). AAUW

prevents them “from competing at all” by deeming them ineligible based on race. Fear-

less Fund, 103 F.4th at 780. “[M]onetary damages are inadequate to ensure that” Do No

Harm’s members can “compete … on a level (and legal) playing field” for the current

application cycle. Planned Parenthood of N.Y.C. v. HHS, 337 F. Supp. 3d 308, 343

(S.D.N.Y. 2018); accord Bonnette v. D.C. Court of Appeals, 796 F. Supp. 2d 164, 187 (D.D.C.

2011) (“forcing Plaintiff to take the MBE under discriminatory conditions is itself a

form of irreparable injury.”).

       3. Do No Harm’s members risk losing valuable opportunities. “[L]ost opportu-

nities” are irreparable because they are “difficult, if not impossible, to quantify” with

damages. MacGinnitie v. Hobbs Grp., LLC, 420 F.3d 1234, 1242 (11th Cir. 2005). “The

loss of specific job opportunities, training[,] and competitive advantages can constitute

irreparable harm.” Tanner v. Fed. Bureau of Prisons, 433 F. Supp. 2d 117, 125 (D.D.C.

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2006). “These sorts of injuries, i.e., deprivations of temporally isolated opportunities,

are exactly” the type of injuries “[t]hat preliminary injunctions are intended to relieve.”

D.M. v. Minn. State High Sch. League, 917 F.3d 994, 1003 (8th Cir. 2019). Especially when

the “loss of opportunity” is “due to alleged discrimination.” Giri v. NBME, 2024 WL

756604, at *9 (D.D.C. Feb. 23). Hence why, in a similar case, the Eleventh Circuit held

that the loss of “$20,000 cash prize,” “ongoing mentorship,” and “ensuing business

opportunities” constituted irreparable harm. Fearless Fund, 103 F.4th at 780.

       AAUW’s discrimination inflicts the same irreparable injury. Here, AAUW prom-

ises not only $20,000 but also mentorship, professional, and networking opportunities

for Fellows. VC ¶47. Absent an injunction, AAUW will open its application window on

August 1 and close it on November 30, select the Fellows, and leave Members A and B

without an opportunity to apply for this cycle. VC ¶19; Ex. A, at 2. For B, who will

graduate from medical school in 2026, she could forever lose the opportunity to apply.

VC ¶59; see League of Women Voters, 838 F.3d at 9. And these injuries remain irreparable

even if Member A, who will graduate in 2027, could apply again. See, e.g., D.M., 917 F.3d

at 1003 (inability to compete for the high-school dance team as a junior is irreparable

because the plaintiffs “cannot get that season back”); Yang v. Kosinski, 960 F.3d 119, 128

(2d Cir. 2020) (the inability to “compete” in an upcoming primary is irreparable).

III.   The balance of equities and public interest favor granting relief.
       The balance of harms favors Do No Harm. As explained, the harms here are

substantial and irreparable: the harm of racial discrimination, the inability to compete


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on an equal footing, and the potential permanent loss of valuable opportunities.

       AAUW, however, faces only minor burdens. True, an injunction will make

AAUW “change” the eligibility criteria “to bring itself into compliance with §1981.”

Fearless Fund, 103 F.4th at 780. But this minor administrative burden “pales in compar-

ison to the interest in rooting out race discrimination in all its forms.” Id. Nor is AAUW

meaningfully harmed if it must delay when it selects Fellows. This delay will “not sub-

stantially injure” AAUW. League of Women Voters, 868 F.3d at 12. Courts have recognized

that a mere delay imposes little, if any, harm, especially where the deadline was “arbi-

trarily set in the ﬁrst place.” GOS Operator, LLC v. Sebelius, 2012 WL 175056, at *5 (S.D.

Ala. Jan. 20). And AAUW brought any harm upon itself by adopting a racially discrim-

inatory program. See Kos Pharms., Inc. v. Andryx Corp., 369 F.3d 700, 728 (3d Cir. 2004).

The balance of the harms favors an injunction. See Fearless Fund, 103 F.4th at 780

       The public interest also favors Do No Harm. “[C]ivil rights actions vindicate a

public interest.” Villano v. City of Boynton Beach, 254 F.3d 1302, 1306 (11th Cir. 2001)

(citing Williams v. Thomas, 692 F.2d 1032, 1038 (5th Cir. 1982)). And “[i]t is in the public

interest for courts to carry out the will of Congress.” Myland Pharm., Inc. v. Shalala, 81 F.

Supp. 2d 30, 45 (D.D.C. 2000). Especially where, as here, AAUW has engaged in

“[r]acial discrimination,” which “is invidious in all contexts.” Harvard, 600 U.S. at 214

(cleaned up). The public interest is “well served” by vindicating §1981’s terms and en-

suring racial equality in contracting. Fearless Fund, 103 F.4th at 780.




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       Finally, because Do No Harm is “engaged in public-interest litigation, an area in

which the courts have recognized an exception to the Rule 65 security requirement,”

this Court should not require a bond. City of Atlanta v. Metro. Atlanta Rapid Transit Auth.,

636 F.2d 1084, 1084 (5th Cir. 1981); BellSouth Telecomms., Inc. v. MCI Metro Access Trans-

mission Servs., LLC, 425 F.3d 964, 971 (11th Cir. 2005).

                                 CONCLUSION
       This Court should grant Do No Harm’s motion.


 Dated: June 20, 2024                          Respectfully submitted,

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